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 7                       UNITED STATES DISTRICT COURT
 8                     SOUTHERN DISTRICT OF CALIFORNIA
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10   RAWCAR GROUP, LLC d/b/a CFI                       CASE NO. 13-cv-1105 H (BLM)
     MEDICAL SOLUTIONS, a Michigan
11   corporation,                                      ORDER GRANTING JOINT
                                                       MOTION TO DISMISS WITH
12                                  Plaintiff,         PREJUDICE
            vs.
13                                                     [Doc. No. 264]
14   GRACE MEDICAL, INC., a Nevada
     corporation, PULSE MEDICAL, INC.,
15   a Georgia corporation, J. RANDALL
     PITTMAN d/b/a PREFERRED
16   MEDICAL PRODUCTS, a Tennessee
     sole proprietorship, PREFERRED
17   MEDICAL PRODUCTS, LLC, a
     Tennessee company,
18
                                 Defendants.
19
20         On January 8, 2015, the magistrate judge conducted a settlement conference
21 and the case settled. (Doc. No. 259.) On March 10, 2015, the parties filed a joint
22 motion to dismiss the action with prejudice. (Doc. No. 264.) The Court, for good
23 cause shown, grants the parties’ joint motion and dismisses the action with
24 prejudice. Fed. R. Civ. P. 41(a).
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 1         The Court further orders that the parties will bear their own costs, expenses,
 2 and attorneys’ fees associated with the prosecution and defense of this action. The
 3 Court directs the clerk to close this case.
 4         IT IS SO ORDERED.
 5 DATED: March 10, 2015
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 7                                                     MARILYN L. HUFF, District Judge
                                                       UNITED STATES DISTRICT COURT
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